EXHIBIT E
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                                                      X




                                       Colin Blake                                02/22/2023
                                SHAH SYED

                                      786




                       02/22/2023                                        I-75 Exit 237 Clayton County Sch. District, GA
                                                                               (33.615678, -84.398428)
                     02/22/2023 7:35 AM EDT


     The driver (Shah Syed) was on I-75 near Exit 237 in Clayton County School District, Georgia.
     when the accident occurred. In this accident, a small car driver suddenly changed lanes from the

     middle to the right side. This movement caused the accident when Shah Syed hit the small car.
     After that, both drivers lost control and went into the bushes on the side of the road.
     Waiting Police report about the accident.




     No Injuries.




                                                     X




                                                                                     02/22/2023




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